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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                             Office of the Clerk
        United States Courthouse
                                                                            Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                            www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
May 20, 2021

                                                         Before

                                          WILLIAM J. BAUER, Circuit Judge

                                          MICHAEL S. KANNE, Circuit Judge

                                          DIANE P. WOOD, Circuit Judge

                                     PEARL HENYARD,
                                             Plaintiff - Appellant

                                     v.
No. 20-3462

                                     MV TRANSPORTATION and PACE, the Suburban Bus Division of
                                     the Regional Transportation Authority,
                                                Defendants - Appellees
Originating Case Information:
District Court No: 1:15-cv-10835
Northern District of Illinois, Eastern Division
District Judge Edmond E. Chang


       The judgment of the District Court is AFFIRMED, with costs, in accordance with
the decision of this court entered on this date.




form name: c7_FinalJudgment        (form ID: 132)
